        Case 1:08-cv-01207-RCL Document 268 Filed 12/28/16 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                      )
 ABD AL RAHIM HUSSEIN AL NASHIRI,                     ) CIVIL ACTION
                                                      ) (HABEAS CORPUS)
                                                      )
                                        Petitioner,
                                                      )
                        V.                              No. 08-cv-1207 (RCL)
                                                      )
                                                        Misc. No. 08-mc-442 (TFI-I)
                                                      )
 BARACK OBAMA, et al.,
                                                      )
                                                        before
                                                      )
                                   Respondents.         Judge Royce C. Lamberth
                                                      )
                                                      )



                                                ORDER

    11 is hereby ORDERED that Petitioner's motion for a record preservation order is
           -4, ..fie. r-44$•'-S "'$ fJ".t t 1', ,,.,.,,'-It·~ 1"'41'       I,.
GRANTED'1 Respondents shall preserve and maintain all vidence, do umcnts and information.

without limitation, now or ever in respondents' possession, custody or control, relating to the

torture, mistreatment, and/or abuse of detainees held in the custody of the Executive Branch

since September 11, 2001 as well as all evidence, documents and information, without limitation,

now or ever in respondents' possession, custody or control, relating to the Petitioner in this case.

This includes, but is not limited to:

        1. Senate Select Committee on Intelligence, "Committee Study of the Central
           Intelligence Agency's Detention and Interrogation Program" (2014)

       2. Central Intelligence Agency Report prepared between 2012 and 2014 in response to
          the SSCl Report; and

       3. All documents referenced or otherwise relied upon in the above mentioned n;ports .
       Case 1:08-cv-01207-RCL Document 268 Filed 12/28/16 Page 2 of 2



       It is FURTHER ORDERED that an electronic or paper copy of the Senate Select

Committee on Intelligence, "Committee Study of the Central Intelligence Agency's Detention

and Interrogation Program" (2014) be deposited with the Court Security Officer for secure

storage under the terms of Amended Protective Order for Habeas Cases Involving Top

Secret/Sensitive Compaitmented Information and Procedures for Counsel Access to Detainees at

the United States Naval Station in Guantanamo Bay, Cuba, in Habeas Cases Involving Top
                               I

Secret/Sensitive Compartmented Information, Case Nos. 08-mc-442-TFH (Dkt. Nos. 1481 &

1496) & 08-cv-01207-RJR (Dkt. Nos. 79 & 80) (D.D.C. 9 January 2009). The Court Security

Officer shall safeguard this report pending further order by the Court.




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                                                         ~e C. Lamberth
                                                              United States District Judge
